              Case 4:00-mc-48778 Document 17-1 DISTRICT
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                                                         COURT
                                           SOUTHERN DISTRICT OF TEXAS

                              ALTERNATIVE DISPUTE RESOLUTION PROVIDER
                                      FIVE-YEAR RENEWAL FORM
The requirements for listing as an ADR provider for the United States District Court for the Southern District of Texas are
contained in Local Rule 16.4.E. Please complete this form and file it and your fee schedule in your attorney admission case
following the instructions at http://www.txs.uscourts.gov/adr/adrproviders.htm.


Name:                                                                      Telephone Number:

E-mail Address:

Firm Name:

Firm Address:


License(s) to practice law:
   Date: ______________       State: _____________      State Bar No.: ________________________
   Date: ______________       State: _____________      State Bar No.: ________________________

Are you a current member of the Texas Bar? ☐Yes ☐No                        Fed. Bar No.
I hereby certify to the court that I have:
☐ Completed five hours of ADR training during the previous calendar year.
    or
☐ Completed self-study of court decisions concerning ADR and authoritative writings on ADR techniques and/or ADR
   ethics, which may be used to satisfy this requirement. For self-study, identify materials studied and the dates of study.

        Course/Self-Study:__________________________________________________ Date: ______________
        Sponsor/Title of Self-Study Material: ___________________________________ Hours: _____________
        Course/Self-Study:__________________________________________________ Date: ______________
        Sponsor/Title of Self-Study Material: ___________________________________ Hours: _____________

ADR methods for which re-listing is sought:
  ☐ Mediation              ☐ Mini-trial               ☐ Summary Jury Trial                ☐ Arbitration

Substantive legal area(s) of experience: ☐ Intellectual Property     ☐ Property Rights
   ☐ Contracts               ☐ Real Property          ☐ Torts       ☐ Civil Rights
   ☐ Labor               ☐ Bankruptcy           ☐ Antitrust      ☐ Securities          ☐ ERISA
   Other (please describe): _________________________________________________________________

Divisions of the Southern District of Texas where available for ADR practice:
    ☐ Brownsville          ☐ Corpus Christi         ☐ Galveston          ☐ Houston
    ☐ Laredo          ☐ McAllen         ☐ Victoria          ☐ All
(ADR proceedings will normally be conducted in the divisions in which the case is pending. Providers may not charge
for travel from the division where they office to another division to conduct an ADR proceeding without prior approval
of the parties.)

Experience as ADR neutral. Number of cases: mediated: ______ arbitrated______ summary/mini-trial judge: ______
Other ADR experience:____________________________________________________________________________

Do you commit to accept some cases for no fee or a reduced fee?      ☐ Yes         ☐ No
My Current Fee Schedule is attached: ☐ Yes          ☐ No

Applicant’s Signature:                                                     Date:
SDTX-ADR-10       3-17-2015
